             Case
              Case8:22-cv-00221-PJM
                   8:22-cv-00221-PJM Document
                                      Document1-6
                                               4 Filed
                                                  Filed01/31/22   Page16ofof2EXHIBIT
                                                        01/28/22 Page        7       E




   IN THE DISTRICT COURT OF MARYLAND FOR PRINCE GEORGE'S COUNTY

BRENT STRAIT                             )

        Plaintiff,                       )
                                         )
    �                                    )        CASE No. 0502-0016111-2020
                                         )
WASHINGTON METROPOLITAN)
      R
AREA TANSIT AUTHORITY )
                                         )
        Defendant.                       )


                                      AMENDED COMPLAINT

        COMES NOW the Plaintiff, Brent Strait, by and through counsel, and moves for the

relief stated herein on grounds set forth below:

                                                PARTJES

        1.       Plaintiff, Brent Strait (hereinafter referred to as ''the Plaintiff'), resides at 1202

Boones Hill Rd., # 6, Capital Heights, MD 20743.

        2.       Defendant, Washlngton Metropolitan Area Transit Authority (hereinafter referred

to as "Defendant") is an intergovernmental entity. Its registered agent is Patricia Lee, General

Counsel, 600 Fi:fth Street, N.W., Waslúngton, D.C. 20001.

                                      COUNT 1-NEGLIGENCE

        3.       On or about July 10, 2019 the Defendant, through its employee, was operating a

vehlcle on Walker Mill Road in Prince George's County, Maryland.

        4.       At all material times to thls Complaint, the Defendant was duty bound to operate

the vehlcle with reasonable care and prudence.

        5.       Notwithstanding thls duty, and in breach thereof, the Defendant operated the

vehicle in a negligent manner and carelessly struck the rear of Plaintiff's lawfuHy owned and
         Case
          Case8:22-cv-00221-PJM
               8:22-cv-00221-PJM Document
                                  Document1-6
                                           4 Filed
                                              Filed01/31/22
                                                    01/28/22 Page
                                                              Page27ofof27
                                                                                              EXHIBIT E




operated vehicle. The Defendant's negligence consisted of, among other things, failing to pay

full time and attention to his driving, failing to maintain a proper look out, failing to maintain a

proper speed, failing to maintain a safe distance between traveling vehicles, and otherwise beíng

negligent.

       6.      As a direct and proximate result of the Defendant' s negligence, and breach of

duties, the Plaintiff sustained severe and permanent bodily injuries and damages, has experienced

and will continue to experience pain and suffering, has lost and will continue to lose wages and

earnings, has incurred and will continue to incur medica! expenses, has been prevented and will

continue to be prevented from engaging in normal social and recreational activities, has incurred

property damage, has incurred diminished value to his vehicle, and has suffered and will

continue to suffer other damages.

       WHEREFORE, Plaintiff, Brent Strait, demands j udgment against Defendant Washington
                                                          H
Metropolitan Area Transit Authority, in the amount ofTIRTY THOUSAND & 00/100 U.S.

DOLLARS ($30,000.00), plus costs and interest.


                                                              RESPECTFULL Y SUBMITTED,




                                                              Counsel for Plaintiff
                                                              GREENBERG & BEDERMAN LLP
                                                              1111 Bonifant St.
                                                              Silver Spring, MD 20910
                                                              t. 301.589.2200
